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Attorneys for Defendants Rock Creek
Cattle Company, LTD, Rock Creek
Cattle Company Homeowners Association, Inc.,
and Julianne Berenyi


                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION

WENDI ARTZ,                      ) Cause No. CV 20-07-BU-BMM-KLD
                                 )
          Plaintiff,             )
                                 ) DEFENDANTS’ UNOPPOSED
     vs.                         ) MOTION TO DISMISS FOR
                                 ) IMPROPER VENUE
ROCK CREEK CATTLE COMPANY, )
LTD, ROCK CREEK CATTLE           )
COMPANY HOMEOWNERS               )
ASSOCIATION, INC., JULIANNE      )
BERENYI, and DOES A – E,         )
                                 )
          Defendants.            )
______________________________________________________________

      Pursuant to Federal Rule of Civil Procedure 12(b)(3), Defendants Rock

Creek Cattle Company, Ltd.; Rock Creek Cattle Company Homeowners

Association, Inc.; and Julianne Berenyi respectfully submit this Motion to Dismiss
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for Improper Venue. Counsel for Plaintiff has indicated that he does not oppose

the motion.

       Good cause exists for the motion. 28 U.S.C. § 1391 generally provides that

a civil action may be venued in a judicial district in which any defendant resides,

or a judicial district in which a substantial part of the events giving rise to the claim

occurred. “The district court of a district in which is filed a case laying venue in

the wrong division or district shall dismiss, or if it be in the interest of justice,

transfer such case to any district or division in which it could have been brought.”

28 U.S.C. § 1406(a). Plaintiff alleges that the events giving rise to her injury took

place in Powell County, Montana. Powell County is in the Helena Division of this

Court, not the Butte Division. See Local Rule 1.2(c)(4). The case is properly

venued in the Helena Division.

       A proposed order is lodged herewith.

       DATED February 26, 2020.

                                                 CROWLEY FLECK PLLP

                                                 By /s/ Brett P. Clark
                                                 Brett P. Clark
                                                 Rock Creek Cattle Company, LTD,
                                                 Rock Creek Cattle Company
                                                 Homeowners Association, Inc., and
                                                 Julianne Berenyi



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                          CERTIFICATE OF SERVICE

      I hereby certify that on February 26, 2020 I electronically filed the foregoing

with the Clerk of Court for the United States District Court for the District of

Montana by using the CM/ECF system. I certify that all participants having

appeared in the case are registered CM/ECF users and that service will be

accomplished by the CM/ECF system.



                                              CROWLEY FLECK PLLP

                                              By /s/ Brett P. Clark
                                              Brett P. Clark
                                              Rock Creek Cattle Company, LTD,
                                              Rock Creek Cattle Company
                                              Homeowners Association, Inc., and
                                              Julianne Berenyi




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